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                                ,UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                  CASE:
  JUAN CARLOS GIL,

              Plaintiff,
  v.

  PACHECO GROUP LLC, BARBECUE 58 -
  PINECREST, LLC, VCVS ENTERPRISE
  LLC and MACONDO DORAL, INC.,

          Defendants.
  ______________________________________/

                                              COMPLAINT

         Plaintiff, JUAN CARLOS GIL, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues PACHECO GROUP LLC,

  BARBECUE 58 - PINECREST, LLC, VCVS ENTERPRISE LLC and MACONDO DORAL,

  INC., (hereinafter “Defendants”), and as grounds alleges:

                              JURISDICTION, PARTIES. AND VENUE

         1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and 2202,

  and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

         4.         Plaintiff, JUAN CARLOS GIL, is an individual over eighteen years of age, with a
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  residence in Miami-Dade County, Florida, and is otherwise sui juris.

          5.       At all times material, Defendants, PACHECO GROUP LLC, BARBECUE 58 -

  PINECREST, LLC, VCVS ENTERPRISE LLC and MACONDO DORAL, INC, owned and/or

  operated a place of public accommodation located at 9000 NW 25 St Doral, Florida 33172

  (hereinafter the “Commercial Property”) and conducted a substantial amount of business in that

  place of public accommodation in Miami-Dade County, Florida.

          6.       At all times material, Defendant, PACHECO GROUP LLC, was and is a Florida

  Limited Liability Company, organized under the laws of the State of Florida, with its principal

  place of business in Doral, Florida.

          7.       At all times material, Defendant, PACHECO GROUP LLC, owned and operated

  a commercial shopping center at 9000 NW 25 St Doral, Florida 33172 (hereinafter the

  “Commercial Property”) and conducted a substantial amount of business in that place of public

  accommodation in Miami-Dade County, Florida. Defendant, PACHECO GROUP LLC, holds

  itself out to the public as “Gateway Shopping Center.”

          8.       At all times material, Defendant, BARBECUE 58 - PINECREST, LLC, was and

  is a Florida Limited Liability Company, organized under the laws of the State of Florida, with its

  principal place of business in Doral, Florida.

          9.       At all times material, Defendant, BARBECUE 58 - PINECREST, LLC, leased and

  operated a commercial restaurant at 9136 NW 25th St, Miami, FL 331721 (hereinafter the

  “Commercial Property”) and conducted a substantial amount of business in that place of public



  1
   This address is located within the retail shopping center and place of 9000 NW 25 Street, Doral, Florida 33172
  owned and operated by landlord Defendant, PACHECO GROUP LLC.

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  accommodation in Miami-Dade County, Florida. Defendant, BARBECUE 58 - PINECREST,

  LLC, holds itself out to the public as “Barbecue 58 - Meats & Cocktails.”

          10.      At all times material, Defendant, VCVS ENTERPRISE LLC, was and is a Florida

  Limited Liability Company, organized under the laws of the State of Florida, with its principal

  place of business in Doral, Florida.

          11.      At all times material, Defendant, VCVS ENTERPRISE LLC, leased and operated

  a commercial restaurant at 9036 NW 25th St, Miami, FL 331722 (hereinafter the “Commercial

  Property”) and conducted a substantial amount of business in that place of public accommodation

  in Miami-Dade County, Florida. Defendant, VCVS ENTERPRISE LLC, holds itself out to the

  public as “Kokai Sushi & Lounge.”

          12.      At all times material, Defendant, MACONDO DORAL, INC., was and is a Florida

  Corporation, organized under the laws of the State of Florida, with its principal place of business

  in Doral, Florida.

          13.      At all times material, Defendant, MACONDO DORAL, INC., leased and operated

  a commercial restaurant at 2494 NW 89th Pl, Doral, FL 331723 (hereinafter the “Commercial

  Property”) and conducted a substantial amount of business in that place of public accommodation

  in Miami-Dade County, Florida. Defendant, MACONDO DORAL, INC., holds itself out to the

  public as “Macondo Coffee Roasters.”

          14.      Venue is properly located in the Southern District of Florida because Defendants’




  2
    This address is located within the retail shopping center and place of 9000 NW 25 Street Doral, Florida 33172
  owned and operated by landlord Defendant, PACHECO GROUP LLC.
  3
    This address is located within the retail shopping center and place of 9000 NW 25 Street Doral, Florida 33172
  owned and operated by landlord Defendant, PACHECO GROUP LLC.

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  Commercial Property is located in Miami-Dade County, Florida, Defendants regularly conduct

  business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                    FACTUAL ALLEGATIONS

         15.     Although over thirty (30) years have passed since the effective date of Title III of

  the ADA, Defendants have yet to make its facilities accessible to individuals with disabilities.

         16.     Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

  publicity the ADA has received since 1990, Defendants continue to discriminate against people

  who are disabled in ways that block them from access and use of Defendants’ businesses and

  properties.

         17.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance

         18.     Plaintiff, JUAN CARLOS GIL, is an individual with disabilities as defined by and

  pursuant to the ADA. Plaintiff, JUAN CARLOS GIL, is substantially limited in major life

  activities due to his impairment and requires the use of a wheelchair to ambulate.

         19.     Defendant, PACHECO GROUP LLC, owns, operates and/or oversees the

  Commercial Property, its general parking lot and parking spots.

         20.     The subject Commercial Property is open to the public and is located in Miami,

  Miami-Dade County, Florida.

         21.     The individual Plaintiff visits the Commercial Property and businesses located

  within the Commercial Property, regularly, to include visits to the Commercial Property and


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  businesses located within the Commercial Property on or about February 11, 2022 and

  encountered multiple violations of the ADA that directly affected his ability to use and enjoy the

  Commercial Property and businesses located therein. He often visits the Commercial Property

  and businesses located within the Commercial Property in order to avail himself of the goods and

  services offered there, because it is approximately ten (10) miles from his residence, and is near

  other businesses and restaurants he frequents as a patron. He plans to return to the Commercial

  Property and the businesses located within the Commercial Property within two (2) months of the

  filing of this Complaint, specifically on or before June 3, 2022.

         22.     Plaintiff resides nearby in the same County and state as the Commercial Property

  and the businesses located within the Commercial Property, has regularly frequented the

  Defendants’ Commercial Property and the businesses located within the Commercial Property for

  the intended purposes because of the proximity to his residence and other businesses that he

  frequents as a patron, and intends to return to the Commercial Property and businesses located

  within the Commercial Property within two (2) months from the filing of this Complaint,

  specifically on or before June 3, 2022.

         23.     The Plaintiff found the Commercial Property, and the businesses located within the

  Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and businesses located within the Commercial Property and

  wishes to continue his patronage and use of each of the premises.

         24.     The Plaintiff has encountered architectural barriers that are in violation of the ADA

  at the subject Commercial Property, and businesses located within the Commercial Property. The

  barriers to access at the Commercial Property, and the businesses located within the Commercial


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  Property have each denied or diminished Plaintiff’s ability to visit the Commercial Property, and

  businesses located within the Commercial Property, and have endangered his safety in violation

  of the ADA. The barriers to access, which are set forth below, have likewise posed a risk of

  injury(ies), embarrassment, and discomfort to Plaintiff, JUAN CARLOS GIL, and others similarly

  situated.

          25.    Defendants, PACHECO GROUP LLC, BARBECUE 58 - PINECREST, LLC,

  VCVS ENTERPRISE LLC and MACONDO DORAL, INC., own and/or operate a place of public

  accommodation as defined by the ADA and the regulations implementing the ADA, 28 CFR

  36.201 (a) and 36.104. Defendants, PACHECO GROUP LLC, BARBECUE 58 - PINECREST,

  LLC, VCVS ENTERPRISE LLC and MACONDO DORAL, INC., are responsible for complying

  with the obligations of the ADA. The place of public accommodation that Defendants, PACHECO

  GROUP LLC, BARBECUE 58 - PINECREST, LLC, VCVS ENTERPRISE LLC and

  MACONDO DORAL, INC., own and/or operate, the Commercial Property Business, is located at

  9000 NW 25 Street, Doral, Florida 33172.

          26.    Plaintiff, JUAN CARLOS GIL, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and the businesses located within the Commercial Property,

  including but not necessarily limited to the allegations in Counts I through IV of this Complaint.

  Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

  at the Commercial Property, and businesses located within the Commercial Property, in violation

  of the ADA. Plaintiff desires to visit the Commercial Property and businesses located therein, not

  only to avail himself of the goods and services available at the Commercial Property, and


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  businesses located within the Commercial Property, but to assure himself that the Commercial

  Property and businesses located within the Commercial Property are in compliance with the ADA,

  so that he and others similarly situated will have full and equal enjoyment of the Commercial

  Property, and businesses located within the Commercial Property without fear of discrimination.

         27.     Defendant, PACHECO GROUP LLC, as the landlord and lessee of the Commercial

  Property Business, is responsible for all ADA violations listed in Count I through IV. Defendants,

  BARBECUE 58 - PINECREST, LLC, VCVS ENTERPRISE LLC and MACONDO DORAL,

  INC., as tenants and owners and/ operators of the businesses within the Commercial Property, are

  jointly and severally responsible and liable for all ADA violations listed in this Complaint.

         28.     Plaintiff, JUAN CARLOS GIL, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and businesses located within the Commercial Property, but not

  necessarily limited to the allegations in Counts I through IV of this Complaint. Plaintiff has

  reasonable grounds to believe that he will continue to be subjected to discrimination at the

  Commercial Property, and businesses within the Commercial Property, in violation of the ADA.

  Plaintiff desires to visit the Commercial Property and businesses within the Commercial Property,

  not only to avail himself of the goods and services available at the Commercial Property and

  businesses located within the Commercial Property, but to assure himself that the Commercial

  Property, and businesses located within the Commercial Property are in compliance with the ADA,

  so that he and others similarly situated will have full and equal enjoyment of the Commercial

  Property, and businesses located within the Commercial Property without fear of discrimination.

         29.     Defendants have discriminated against the individual Plaintiff by denying him


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  access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

  and/or accommodations of the Commercial Property, and businesses located within the

  Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

                                 COUNT I – ADA VIOLATIONS
                                INVOLVING COMMON AREAS
                                AS TO PACHECO GROUP LLC
         30.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  29 above as though fully set forth herein.

         31.     Defendant, PACHECO GROUP LLC, has discriminated, and continues to

  discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have accessible

  facilities by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees and

  gross receipts of $500,000 or less). A list of the violations that Plaintiff encountered during his

  visit to the Commercial Property, include but are not limited to, the following:

      A. Parking Lot and Accessible Route

    i.   The plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

         located on an excessive slope. Violation: There are accessible parking spaces located on

         an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010

         ADA Standards, whose resolution is readily achievable.

   ii.   The plaintiff had difficulty exiting the vehicle, as designated accessible parking space

         access aisles are located on an excessive slope. Violation: There are accessible parking

         space access aisles located on an excessive slope violating Section 4.6.3 of the ADAAG

         and Section 502.4 of the 2010 ADA Standards, whose resolution is readily achievable.




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   iii.     The required number of accessible parking spaces is not provided, violating Section

            4.1.2(5a) and 4.6.1 of the ADAAG and Section 208.2.4 of the 2010 ADA Standards, whose

            resolution is readily achievable.

         B. Entrance Access and Path of Travel

     i.     The plaintiff had difficulty traversing the path of travel, as it is not continuous and

            accessible. Violation: There are inaccessible routes from the public sidewalk and

            transportation stop. These are violations of the requirements in Sections 4.3.2(1), 4.3.8,

            4.5.1, and 4.5.2 of the ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010

            ADA Standards, whose resolution is readily achievable.

   ii.      The plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

            Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and

            4.5.2 of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is

            readily achievable.

   iii.     The plaintiff had difficulty using some of the curb ramps, as the slopes are excessive.

            Violation: There are curb ramps at the facility that contain excessive slopes, violating

            Section 4.7.2 of the ADAAG and Sections 405.2 and 406.1 of the 2010 ADA Standards,

            whose resolution is readily achievable.

   iv.      The plaintiff had difficulty entering tenant spaces without assistance, as the entrance

            thresholds are too high. Violation: There are threshold rises more than ½ inch at the tenant

            entrances, violating Section 4.13.8 of the ADAAG and Section 404.2.5 of the 2010 ADA

            Standards, whose resolution is readily achievable.




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    v.      The plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess

            of 2%. Violation: The path of travel contains excessive cross slopes in violation of Section

            4.3.7 of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is

            readily achievable.

    vi.     The plaintiff had difficulty traversing the path of travel, as it was not continuous and

            accessible. Violation: There are inaccessible routes between sections of the facility. These

            are violations of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and

            Sections 206.2.2, 303, 402 and 403, whose resolution is readily achievable.

                              COUNT II – ADA VIOLATIONS
               AS TO PACHECO GROUP LLC and BARBECUE 58 - PINECREST, LLC

            32.      The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  29 above as though fully set forth herein.

            33.      Defendants, PACHECO GROUP LLC and BARBECUE 58 - PINECREST, LLC,

  have discriminated, and continues to discriminate, against Plaintiff in violation of the ADA by

  failing, inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993, if a

  Defendant has 10 or fewer employees and gross receipts of $500,000 or less). A list of the

  violations that Plaintiff encountered during his visit to the Commercial Property, include but are

  not limited to, the following:

            A. Access to Goods and Services

          i.      There is seating provided at the facility that does not comply with the standards

                  prescribed in Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA

                  Standards, whose resolution is readily achievable.

            B. Public Restrooms

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        i.         There are permanently designated interior spaces without proper signage, violating

                   Section 4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010

                   ADA Standards, whose resolution is readily achievable.

       ii.         The plaintiff could not transfer to the toilet without assistance, as the rear grab bar is

                   missing and the side grab bar is not mounted at the required location. Violation: The

                   grab bars do not comply with the requirements prescribed in Section 4.16.4 & Figure

                   29 of the ADAAG and Section 604.5 of the 2010 ADA Standards, whose resolution is

                   readily achievable.

      iii.         The plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are

                   not wrapped. Violation: The lavatory pipes are not fully wrapped or maintained

                   violating Section 4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards,

                   whose resolution is readily achievable.

       iv.         The plaintiff could not transfer to the toilet without assistance, as the clear floor space

                   is obstructed. Violation: The required clear floor space is not provided next to the toilet,

                   violating Section 4.16.2 & Figure 28 of the ADAAG, and 604.3 of the 2010 ADA

                   Standards, whose resolution is readily achievable.

                                COUNT III – ADA VIOLATIONS
                     AS TO PACHECO GROUP LLC and VCVS ENTERPRISE LLC

             34.       The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  29 above as though fully set forth herein.

             35.       Defendants, PACHECO GROUP LLC and VCVS ENTERPRISE LLC, have

  discriminated, and continues to discriminate, against Plaintiff in violation of the ADA by failing,

  inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993, if a Defendant

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  has 10 or fewer employees and gross receipts of $500,000 or less). A list of the violations that

  Plaintiff encountered during his visit to the Commercial Property, include but are not limited to,

  the following:

          A. Access to Goods and Services

        i.   There is seating provided at the facility that does not comply with the standards

             prescribed in Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA

             Standards, whose resolution is readily achievable.

          B. Public Restrooms

        i.   The plaintiff had difficulty using the locking mechanism on the restroom door without

             assistance, as it requires tight grasping. Violation: The restroom door has non-

             compliant hardware for disabled patrons, violating Sections 4.13.9 & 4.27.4 of the

             ADAAG and Sections 309.4 & 404.2.7 of the 2010 ADA Standards, whose resolution

             is readily achievable.

       ii.   The plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors

             provided in the restrooms are in violation of the requirements in Section 4.19.6 of the

             ADAAG and Section 603.3 of the 2010 ADA Standards, whose resolution is readily

             achievable.

      iii.   The plaintiff could not transfer to the toilet without assistance, as the side grab bar is

             not at the required location. Violation: The grab bars do not comply with the

             requirements prescribed in Section 4.16.4 & Figure 29 of the ADAAG and Section

             604.5.1 of the 2010 ADA Standards, whose resolution is readily achievable.




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       iv.         The plaintiff could not use the toilet paper dispenser without assistance, as it is not

                   mounted at the required location. Violation: The toilet paper dispenser is not mounted

                   in accordance with Section 4.16.6 and Figure 29 of the ADAAG and Section 604.7 of

                   the 2010 ADA Standards, whose resolution is readily achievable.

       v.          The plaintiff could not use the coat hook without assistance, as it is mounted too high.

                   Violation: There are coat hooks provided for public use in the restroom, outside the

                   reach ranges prescribed in Sections 4.2.5, 4.2.6, and 4.25.3 of the ADAAG and Sections

                   308 and 604.8.3 of the 2010 ADA Standards, whose resolution is readily achievable.

                                COUNT IV – ADA VIOLATIONS
                     AS TO PACHECO GROUP LLC and MACONDO DORAL, INC.

             36.      The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  29 above as though fully set forth herein.

             37.      Defendants, PACHECO GROUP LLC and MACONDO DORAL, INC., have

  discriminated, and continues to discriminate, against Plaintiff in violation of the ADA by failing,

  inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993, if a Defendant

  has 10 or fewer employees and gross receipts of $500,000 or less). A list of the violations that

  Plaintiff encountered during his visit to the Commercial Property, include but are not limited to,

  the following:

             A. Entrance Access and Path of Travel

         i.        The plaintiff could not traverse through areas of the restaurant, as the required 36” path

                   is not provided. Violation: A continuous path of travel connecting all essential elements

                   of the restaurant is not provided, violating Sections 4.2.1, 4.3.2(3), & 4.3.3 of the

                   ADAAG and Sections 206.2.2 & 403.5.1 of the 2010 ADA Standards, whose resolution

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               is readily achievable

            B. Access to Goods and Services

        i.     There is seating provided at the facility that does not comply with the standards

               prescribed in Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA

               Standards, whose resolution is readily achievable.


            C. Public Restrooms

        i.     There are permanently designated interior spaces without proper signage, violating

               Section 4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010

               ADA Standards, whose resolution is readily achievable.

      ii.      The plaintiff had difficulty using the toilet paper due to the roll not being located within

               a dispenser. Violation: Elements in the restroom are not readily accessible and usable

               by persons with disabilities, violating 28 CFR 36.211, whose resolution is readily

               achievable.

      iii.     The plaintiff could not transfer to the toilet without assistance, as a trashcan obstructs

               the clear floor space. Violation: The required clear floor space is not provided next to

               the toilet, violating Section 4.16.2 & Figure 28 of the ADAAG, 28 CFR 36.211, and

               604.3 of the 2010 ADA Standards, whose resolution is readily achievable.

      iv.      The plaintiff could not transfer to the toilet without assistance, as the grab bars are

               missing. Violation: The grab bars do not comply with the requirements prescribed in

               Section 4.16.4 and Figure 29 of the ADAAG and Sections 604.5 and 609 of the 2010

               ADA Standards, whose resolution is readily achievable.



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       v.          The plaintiff could not transfer to the toilet without assistance, as the grab bars are

                   missing. Violation: The grab bars do not comply with the requirements prescribed in

                   Section 4.16.4 and Figure 29 of the ADAAG and Sections 604.5 and 609 of the 2010

                   ADA Standards, whose resolution is readily achievable.

       vi.         The plaintiff had difficulty using the locking mechanism on the restroom door without

                   assistance, as it requires tight grasping. Violation: The restroom door has non-

                   compliant hardware for disabled patrons, violating Sections 4.13.9 & 4.27.4 of the

                   ADAAG and Sections 309.4 & 404.2.7 of the 2010 ADA Standards, whose resolution

                   is readily achievable.

      vii.         The plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are

                   not wrapped. Violation: The lavatory pipes are not fully wrapped or maintained

                   violating Section 4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards,

                   whose resolution is readily achievable.

                                      RELIEF SOUGHT AND THE BASIS

             38.      The discriminatory violations described in Count I are not an exclusive list of the

  Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ places of public

  accommodation in order to photograph and measure all of the discriminatory acts violating the

  ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further requests

  to inspect any and all barriers to access that were concealed by virtue of the barriers' presence,

  which prevented Plaintiff, JUAN CARLOS GIL, from further ingress, use, and equal enjoyment

  of the Commercial Business and businesses located within the Commercial Property; Plaintiff

  requests to be physically present at such inspection in conjunction with Rule 34 and timely notice.


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  A complete list of the Subject Premises’ ADA violations, and the remedial measures necessary to

  remove same, will require an on-site inspection by Plaintiff’s representatives pursuant to Federal

  Rule of Civil Procedure 34.

         39.     The individual Plaintiff, and all other individuals similarly situated, have been

  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

  businesses and facilities; and has otherwise been discriminated against and damaged by the

  Defendants because of the Defendants’ ADA violations as set forth above. The individual

  Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of public

  accommodation in order to determine all of the areas of non-compliance with the Americans with

  Disabilities Act.

         40.     Defendants have discriminated against the individual Plaintiff by denying him

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, Defendants continue to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals

  with disabilities; and by failing to take such efforts that may be necessary to ensure that no

  individual with a disability is excluded, denied services, segregated or otherwise treated differently


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  than other individuals because of the absence of auxiliary aids and services.

          41.     Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

  clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

  those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled

  to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

  12205 and 28 CFR 36.505.

          42.     A Defendant is required to remove the existing architectural barriers to the

  physically disabled when such removal is readily achievable for their place of public

  accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

  Defendants’ place of public accommodation in order to determine all of the areas of non-

  compliance with the Americans with Disabilities Act.

          43.     Notice to Defendants is not required as a result of the Defendants’ failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

  and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

  or waived by the Defendant.

          44.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate their

  businesses, located at and/or within the commercial property located at 9000 NW 25 St Doral,

  Florida 33172, the exterior areas, and the common exterior areas of the Commercial Property and

  businesses located within the Commercial Property, to make those facilities readily accessible and


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  useable to The Plaintiff and all other mobility-impaired persons; or by closing the facility until

  such time as the Defendants cure the violations of the ADA.

             WHEREFORE, The Plaintiff, JUAN CARLOS GIL, respectfully requests that this

  Honorable Court issue (i) a Declaratory Judgment determining Defendants at the commencement

  of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,

  42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants including an order to make all

  readily achievable alterations to the facilities; or to make such facilities readily accessible to and

  usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

  to make reasonable modifications in policies, practices or procedures, when such modifications

  are necessary to afford all offered goods, services, facilities, privileges, advantages or

  accommodations to individuals with disabilities; and by failing to take such steps that may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated or

  otherwise treated differently than other individuals because of the absence of auxiliary aids and

  services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

  12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

  Title III of the Americans with Disabilities Act.




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  Dated: April 4, 2022               GARCIA-MENOCAL & PEREZ, P.L.
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                                            By: ___/s/_Anthony J. Perez________
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